    Case 1:24-cr-00542-AS      Document 248   Filed 04/17/25   Page 1 of 22




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK



UNITED STATES OF AMERICA,                     24-cr-542 (AS)

     v.

SEAN COMBS,

                  Defendant.



              DEFENDANT SEAN COMBS’S OPPOSITION TO THE
                 GOVERNMENT’S MOTION IN LIMINE TO
                AVOID IDENTIFYING CERTAIN WITNESSES
          Case 1:24-cr-00542-AS                    Document 248                Filed 04/17/25             Page 2 of 22




                                                 TABLE OF CONTENTS

                                                                                                                                Page

TABLE OF AUTHORITIES ...................................................................................................... ii

INTRODUCTION ...................................................................................................................... 1

ARGUMENT.............................................................................................................................. 2

I.        THE GOVERNMENT’S REQUEST UNDULY INFRINGES MR. COMBS’S AND
          THE PUBLIC’S CONSTITUTIONAL RIGHTS .............................................................2

          A.      The Government’s Request Violates Mr. Combs’s Sixth Amendment Right To
                  Confront Witnesses .................................................................................................2

          B.      The Government’s Request Unduly Infringes Mr. Combs’s And The Public’s
                  Rights To A Public Trial .........................................................................................4

II.       PRACTICAL AND LOGISTICAL PROBLEMS FURTHER UNDERMINE THE
          GOVERNMENT’S REQUEST .......................................................................................6

III.      THE GOVERNMENT’S REQUEST IS EXTRAORDINARY AND IS
          UNSUPPORTED BY ANY LEGITIMATE INTEREST .................................................7

          A.      The Government Misstates The Law And The Heavy Burden Required To
                  Override The Presumption Of An Open Trial ..........................................................7

          B.      The Government’s Asserted Harms To The Three Witnesses Are Insufficient
                  To Justify Pseudonymity ....................................................................................... 10

          C.      The Government Cannot Show Any Harm To
                                           ................................................................................ 14

CONCLUSION......................................................................................................................... 15
          Case 1:24-cr-00542-AS                    Document 248               Filed 04/17/25             Page 3 of 22




                                              TABLE OF AUTHORITIES

Cases                                                                                                                      Page(s)

Alford v. United States,
   282 U.S. 687 (1931)................................................................................................................4

Davis v. Alaska,
  415 U.S. 308 (1974)................................................................................................................3

Delaware v. Van Arsdall,
  475 U.S. 673 (1986)................................................................................................................3

Doe 1 v. Branca USA, Inc.,
  2022 WL 2713543 (S.D.N.Y. July 13, 2022) ................................................................. 11, 14

Doe v. Combs,
  2024 WL 863705 (S.D.N.Y. Feb. 29, 2024) .................................................................... 12, 13

Doe v. Combs,
  2024 WL 4635309 (S.D.N.Y. Oct. 30, 2024) ................................................................ 4, 5, 12

Doe v. Combs,
  2025 WL 268515 (S.D.N.Y. Jan. 22, 2025)................................................................. 4, 12, 13

Doe v. Combs,
  2025 WL 722790 (S.D.N.Y. Mar. 6, 2025) ........................................................................... 12

Doe v. Combs,
  2025 WL 934358 (S.D.N.Y. Mar. 27, 2025) ......................................................................... 12

Doe v. Combs,
  2025 WL 934380 (S.D.N.Y. Mar. 27, 2025) ..................................................................... 4, 12

Doe v. Combs,
  2025 WL 950685 (S.D.N.Y. Mar. 28, 2025) ......................................................................... 12

Doe v. Combs,
  No. 24-CV-7974 (JMF) (S.D.N.Y. Apr. 8, 2025) .................................................................. 12

Doe v. Combs,
  No. 24-CV-7776 (NRB) (S.D.N.Y. Apr. 9, 2025) ................................................................. 12

Doe v. Combs,
  161671/2024 (Sup. Ct. NY Co. 2025) ................................................................................... 12

Doe v. Combs,
  161674/2024 (Sup. Ct. NY Co. 2025) ................................................................................... 12



                                                                  ii
          Case 1:24-cr-00542-AS                   Document 248                Filed 04/17/25            Page 4 of 22




Doe v. Combs,
  161676/2024 (Sup. Ct. NY Co. 2025) ................................................................................... 12

Doe v. Delta Airlines, Inc.,
  310 F.R.D. 222 (S.D.N.Y. 2015) .............................................................................................3

Doe v. Freydin,
  2021 WL 4991731 (S.D.N.Y. Oct. 27, 2021) ........................................................................ 14

Doe v. Gong Xi Fa Cai, Inc.,
  2019 WL 3034793 (S.D.N.Y. July 10, 2019) .................................................................... 5, 11

Doe v. Shakur,
  164 F.R.D. 359 (1996) .......................................................................................................... 11

Doe v. Skyline Auto. Inc.,
  375 F. Supp. 3d 401 (S.D.N.Y. 2019) ....................................................................... 3, 4, 8, 11

Doe v. Townes,
  2020 WL 2395159 (S.D.N.Y. May 12, 2020) ................................................................ 5, 8, 11

Doe v. Weinstein,
  484 F. Supp. 3d 90 (S.D.N.Y. 2020) ............................................................................. 5, 8, 11

English v. Combs,
  24-cv-5090 (AT) (S.D.N.Y.) ................................................................................................. 13

Gannett Co. v. DePasquale,
  443 U.S. 368 (1979)............................................................................................................ 4, 8

Globe Newspaper Co. v. Sup. Ct.,
  457 U.S. 596 (1982).......................................................................................................... 8, 13

Graves v. Combs,
  24-cv-7201 (AT) (S.D.N.Y.) ................................................................................................. 13

Jones v. Combs,
  24-cv-1457 (JPO) (S.D.N.Y.)................................................................................................ 13

McKinney v. Combs,
  24-cv-3931 (NRB) (S.D.N.Y.) .............................................................................................. 13

Nixon v. Warner Comms., Inc.,
  435 U.S. 589 (1978)................................................................................................................5

Rapp v. Fowler,
  537 F. Supp. 3d 521 (S.D.N.Y. 2021) ............................................................................. 11, 15




                                                                 iii
          Case 1:24-cr-00542-AS                   Document 248                Filed 04/17/25            Page 5 of 22




Richard v. Combs,
   24-cv-6848 (KPF) (S.D.N.Y.) ............................................................................................... 13

Richmond Newspapers, Inc. v. Virginia,
   448 U.S. 555 (1980)...................................................................................................... 3, 5, 13

Sealed Plaintiff v. Sealed Defendant,
  537 F.3d 185 (2d Cir. 2008) ....................................................................................................5

Smith v. Illinois,
  390 U.S. 129 (1968)............................................................................................................ 3, 4

United States v. Amodeo,
  71 F.3d 1044 (2d Cir. 1995) ....................................................................................................6

United States v. Corley,
  2016 WL 9022508 (S.D.N.Y. Jan. 15, 2016)...........................................................................9

United States v. Daskal,
  2023 WL 9424080 (E.D.N.Y. July 12, 2023) ..........................................................................9

United States v. Graham,
  2015 WL 6161292 (S.D.N.Y. Oct. 20, 2015) ........................................................................ 10

United States v. Hernandez,
  2013 WL 3936185 (S.D.N.Y. July 29, 2013) ..........................................................................9

United States v. Kidd,
  385 F. Supp. 3d 250 (S.D.N.Y. 2019) .....................................................................................9

United States v. Marcus,
  2007 WL 330388 (E.D.N.Y. Jan. 31, 2007) .......................................................................... 10

United States v. Martinez,
  17-cr-281 (BMC), Dkt. 34 (E.D.N.Y.) .................................................................................. 11

United States v. Maxwell,
  2021 WL 5967913 (S.D.N.Y. Dec. 15, 2021)........................................................................ 12

United States v. Maxwell,
  20-CR-330 (AJN), Dkt. 187 (S.D.N.Y.) ..................................................................................9

United States v. Maxwell,
  20-CR-330 (AJN), Dkt. 465 (S.D.N.Y.) ..................................................................................9

United States v. Paris,
  2007 WL 1484974 (D. Conn. May 18, 2007) ..........................................................................9




                                                                 iv
          Case 1:24-cr-00542-AS                     Document 248                Filed 04/17/25              Page 6 of 22




United States v. Pilcher,
  950 F.3d 39 (2d Cir. 2020) ......................................................................................................8

United States v. Raniere,
  18-cr-204 (NGG), Dkt. 826 (E.D.N.Y.)................................................................................. 10

United States v. Robert (R.) Kelly,
  19-cr-286 (AMD), Dkt 121 (E.D.N.Y.) ...................................................................................9

United States v. Robert (R.) Kelly,
  19-cr-286 (AMD), Dkt. 255 (E.D.N.Y.) ..................................................................................9

United States v. Schulte,
  436 F. Supp. 3d 698 (S.D.N.Y. 2020) .....................................................................................9

United States v. Terranova,
  750 F. Supp. 3d 15 (E.D.N.Y. 2024) .......................................................................................9

United States v. Urena,
  8 F. Supp. 3d 568 (S.D.N.Y. 2014) .........................................................................................9

United States v. Zhong,
  2018 WL 6173430 (E.D.N.Y. Nov. 26, 2018) .........................................................................9

Ventura v. Combs,
  23-cv-10098 (DLC) (S.D.N.Y.) ............................................................................................ 13

Waller v. Georgia,
  467 U.S. 39 (1984) .................................................................................................................4

Statutes

18 U.S.C. § 3509 .........................................................................................................................8

18 U.S.C. § 3771 ....................................................................................................................... 14

Other Authorities

Wright & Miller, 30 Fed. Prac. & Proc. Evid. § 6408 (2d ed. 2025)......................................... 6, 8




                                                                    v
       Case 1:24-cr-00542-AS          Document 248        Filed 04/17/25      Page 7 of 22




                                        INTRODUCTION

       In one of this District’s most high-profile prosecutions in recent memory, the government

seeks to conceal the identities of three of its main witnesses during his public trial. The Court

should reject this extraordinary request and require these three witnesses to stand behind their

real names while leveling serious accusations against Mr. Combs.

       The government’s principal witnesses will include three alleged female victims it calls

“Victim-2,” “Victim-3,” and “Victim-4”—

           respectively.1



                                                                                                 .

Rather than have these critical witnesses identified by their real names—like virtually every

witness in every criminal trial—the government seeks to have them be described and otherwise

referred to by pseudonym and to seal exhibits containing either their first or last names.

       Yet what the government describes as “narrowly” tailored measures to accommodate its

witnesses’ privacy interests are, in fact, a blatant violation of Mr. Combs’s Sixth Amendment

rights to confront witnesses and to a public trial—a violation that risks preventing potential

witnesses from coming forward to testify on Mr. Combs’s behalf. The government’s request

would also contravene the public’s and press’s First Amendment and common law rights of

access for a trial of immense public interest in which there could not be a stronger need to

enforce these rights.

       The government’s proposal would also create a logistical nightmare that would confuse

witnesses and the jury. Just imagine conducting a trial with Jane Doe 1, 2, and 3, interspersed


1
 The government represents that “Victim-1” in the indictment—                           is
“prepared to testify under her own name.” Mot. 1.
       Case 1:24-cr-00542-AS           Document 248        Filed 04/17/25      Page 8 of 22




with references to other witnesses’ true names. Moreover, the government’s request would be

futile because Mr. Combs’s accusers                                                         .

        If constitutional rights and logistical concerns don’t foreclose pseudonymity here, the

government’s request should also be rejected because it cannot carry its heavy burden to justify

this extraordinary relief. Pseudonymity is a very rare exception to the universal presumption of

open trials and doesn’t apply here. These three witnesses are adults who merely fear the stigma

and embarrassment of public testimony, not minors or undercover agents who would be in

danger if identified.

        The Court should deny the government’s motion in its entirety.

                                            ARGUMENT

I.      THE GOVERNMENT’S REQUEST UNDULY INFRINGES MR. COMBS’S AND
        THE PUBLIC’S CONSTITUTIONAL RIGHTS

     A. The Government’s Request Violates Mr. Combs’s Sixth Amendment Right To
        Confront Witnesses

        Concealing the identities of                                  would violate Mr. Combs’s

Sixth Amendment right “to be confronted with the witnesses against him.” These will be three

of the government’s main trial witnesses.

                                                                         . Declaration of Teny

Geragos ¶ 6.



                                       . See id. ¶ 4.

        The government’s case will to a large extent rise or fall on the credibility of these three

witnesses—which Mr. Combs is entitled to vigorously challenge on cross-examination. Indeed,

the Confrontation Clause’s “main and essential purpose” is “to secure . . . the opportunity of




                                                  2
       Case 1:24-cr-00542-AS          Document 248        Filed 04/17/25      Page 9 of 22




cross-examination,” Delaware v. Van Arsdall, 475 U.S. 673, 678 (1986), 2 which “is the principal

means by which the believability of a witness and the truth of his testimony are tested,” Davis v.

Alaska, 415 U.S. 308, 316 (1974).

       Although Mr. Combs and the jury will know the true identities of these witnesses,

pseudonyms prevent “full[] and adequate[]” cross-examination, Doe v. Skyline Auto. Inc., 375 F.

Supp. 3d 401, 407-08 (S.D.N.Y. 2019), which is why “[t]he case law recognizes a defendant’s

interest in confronting an identified accuser,” Doe v. Delta Airlines, Inc., 310 F.R.D. 222, 225

(S.D.N.Y. 2015) (emphasis added), aff’d, 672 F. App’x 48 (2d Cir. 2016). A witness who

testifies under her own name “may feel more inhibited than a pseudonymous witness from

fabricating or embellishing an account.” Delta Airlines, Inc., 310 F.R.D. at 225. “[O]pen

examination of witnesses . . . is much more conducive to the clearing up of truth, than the private

and secret examination . . . where a witness may frequently depose that in private, which he will

be ashamed to testify in a public and solemn tribunal.” Richmond Newspapers, Inc. v. Virginia,

448 U.S. 555, 597 (1980) (Brennan, J., concurring) (quoting 3 William Blackstone,

Commentaries *373 (13th ed. 1800)).

       In Smith v. Illinois, for example, the Supreme Court reversed the defendant’s conviction

because a prosecution witness was permitted to testify pseudonymously. While “there was not,

to be sure, a complete denial of all right of cross-examination,” the defendant was nonetheless

“denied the right to ask the principal prosecution witness . . . his name,” and “when the

credibility of a witness is in issue, the very starting point in exposing falsehood and bringing out

the truth through cross-examination must necessarily be to ask the witness who he is.” 390 U.S.




2
  Unless otherwise noted, citations omit internal quotation marks, footnotes, and previous
alterations in the original source.


                                                 3
      Case 1:24-cr-00542-AS          Document 248          Filed 04/17/25    Page 10 of 22




129, 131 (1968). “To forbid this rudimentary inquiry at the threshold,” therefore, “[was]

effectively to emasculate the right of cross-examination itself.” Id. Similarly, in Alford v.

United States, the Court reversed a conviction because the defendant was prohibited from

inquiring into identifying information on cross examination. 282 U.S. 687, 692-94 (1931). The

Court should not permit this drastic limitation on Mr. Combs’s confrontation right.

   B. The Government’s Request Unduly Infringes Mr. Combs’s And The Public’s Rights
      To A Public Trial

       Allowing                                      to use pseudonyms would infringe Mr.

Combs’s Sixth Amendment right to a public trial—another important fair trial safeguard. See

Gannett Co. v. DePasquale, 443 U.S. 368, 380 (1979). Nothing could be more unfair than

requiring Mr. Combs to publicly defend himself while three of the government’s accusers wear a

“cloak of anonymity.” E.g., Skyline Auto. Inc., 375 F. Supp. 3d at 407. Mr. Combs risks

suffering the same reputational damage and mental harms the government invokes to justify

pseudonymity for these witnesses. Yet the government seeks to have them hide behind fake

names while Mr. Combs endures the immense public indignity of facing lurid sex-crimes

accusations.

       Crucially, fully identifying the government’s witnesses may also lead other potential

“witnesses to come forward” with testimony or other helpful information. Waller v. Georgia,

467 U.S. 39, 46 (1984). The potential benefit is especially high in a highly publicized trial like

this one, as courts have explained in cases involving Mr. Combs himself. See, e.g., Doe v.

Combs, 2024 WL 4635309, at *5 (S.D.N.Y. Oct. 30, 2024) (Combs II); Doe v. Combs, 2025 WL

268515, at *4 (S.D.N.Y. Jan. 22, 2025) (Combs III); Doe v. Combs, 2025 WL 934380, at *5

(S.D.N.Y. Mar. 27, 2025) (Combs VI). A public trial in which witnesses are identified helps

advance the trial’s truth-seeking function—but the government’s request does the opposite,



                                                 4
       Case 1:24-cr-00542-AS          Document 248         Filed 04/17/25       Page 11 of 22




further impairing Mr. Combs’s rights. For example, as the government notes (Mot. 6 n.2),




                                       . Many other potential witnesses are not yet aware of the

importance of contradicting               testimony, but may well come forward if                is

forced to identify herself at trial and make her untrue allegations behind her real name.

       In addition to Mr. Combs’s Sixth Amendment right to a public trial, pseudonymity would

contravene the public’s First Amendment right of access. Richmond Newspapers, Inc., 448 U.S.

at 577-80 (plurality opinion). “The people have a right to know who is using their courts,”

Sealed Plaintiff v. Sealed Defendant, 537 F.3d 185, 189 (2d Cir. 2008), and a heightened interest

in knowing the identities of accusers in high-profile cases, e.g., Doe v. Weinstein, 484 F. Supp.

3d 90, 97 (S.D.N.Y. 2020) (Harvey Weinstein). This case also presents “concrete and factual”

issues of interest to the public rather than abstract legal issues, which further militates in favor of

an open trial. See, e.g., Doe v. Gong Xi Fa Cai, Inc., 2019 WL 3034793, at *3 (S.D.N.Y. July

10, 2019); Doe v. Townes, 2020 WL 2395159, at *6 (S.D.N.Y. May 12, 2020).

       The government’s request to seal exhibits containing the three witnesses’ names is a

particularly flagrant violation of the public’s—and the press’s—right of access. “Media outlets

have a constitutional right to publish stories about this case,” Combs II, 2024 WL 4635309, at

*3, and enjoy in independent common law right of access to judicial records, Nixon v. Warner

Comms., Inc., 435 U.S. 589, 597-98 (1978). The government, however, asks the Court to impose

an unconstitutional prior restraint on publishing the names of three of Mr. Combs’s accusers.




                                                   5
      Case 1:24-cr-00542-AS          Document 248        Filed 04/17/25     Page 12 of 22




Although the government invokes the “privacy interest” exception to the common law right of

access (Mot. 18), it is seeking to block publication of witness names, not anything “traditionally

considered private,” United States v. Amodeo, 71 F.3d 1044, 1051 (2d Cir. 1995)—like financial

or health records.

II.    PRACTICAL AND LOGISTICAL PROBLEMS FURTHER UNDERMINE THE
       GOVERNMENT’S REQUEST

       The government’s “narrowly” tailored request should be rejected for the independent

reason that pseudonymity would in reality be exceptionally disruptive and mark a jarring

departure from standard trial practice.

       “[M]ost witness examinations begin with an introduction of the witness to the fact finder,

including the witness’s name”—information that is “widely accepted, welcomed, and expected

in the courtroom.” Wright & Miller, 30 Fed. Prac. & Proc. Evid. § 6408 (2d ed. 2025). This is a

case where names and relationships will be particularly important. The testimony will frequently

delve into who met, spoke with, or interacted with who; and these discussions would be

extremely confusing without the real names for three pivotal witnesses. Witnesses would forget

who they can refer to by real or fake name, or misidentify one of the pseudonymous witnesses.

Jurors would spend less time listening to the testimony than trying to figure out who Jane Doe 1,

Jane Doe 2, and Jane Doe 3 actually are, or wondering why there are only three Jane Does out of

the many testifying witnesses. Giving the jurors their real names, as the government proposes

(Mot. 17), would only heighten the confusion. On top of all that, many of the exhibits are

audible—including hundreds of recorded voice memos and messages—in which references to

the government’s three witnesses would need to be edited and swapped with confusing

references to Jane Does 1-3.




                                                 6
         Case 1:24-cr-00542-AS           Document 248       Filed 04/17/25    Page 13 of 22




          Concealing the identities of                                 would also risk bolstering the

veracity or credibility of their claims against Mr. Combs, undermining the presumption of

innocence. The jury may come to believe that these witnesses have, in fact, already been

determined to be sex-crimes victims who are in need of special protection from Mr. Combs.

          Finally, the government’s request to have the three witnesses proceed on a fake-name

basis would almost certainly be ineffective. This litigation has garnered extensive media

coverage, and there has been detailed reporting on Mr. Combs and his accusers.

                                                                                       as the

government notes. Mot. 13. Interested members of the public—let alone the numerous tabloids

following the trial—

                    For example, Mr. Combs expects to cross-examine



                                                  See Geragos Decl. ¶ 9. It would make no sense to



                                         . Granting the government’s motion would be an exercise in

futility, and would thus serve only to impair Mr. Combs’s defense and his constitutional rights.

III.      THE GOVERNMENT’S REQUEST IS EXTRAORDINARY AND IS
          UNSUPPORTED BY ANY LEGITIMATE INTEREST

       A. The Government Misstates The Law And The Heavy Burden Required To Override
          The Presumption Of An Open Trial

          The government seems to suggest that pseudonymity is a relatively routine measure that

the Court can and should permit any time a prosecution witness would rather not be identified.

For example, the government repeatedly claims that Mr. Combs must present a “particularized

need” to use its three witnesses’ real names. Mot. 7, 10, 12, 18.




                                                    7
      Case 1:24-cr-00542-AS           Document 248       Filed 04/17/25      Page 14 of 22




       This gets it completely backwards. The Sixth Amendment “presumes open trials as a

norm,” Gannett Co., 443 U.S. at 385, and there is also a “uniform rule of openness” protected by

the First Amendment, Globe Newspaper Co. v. Sup. Ct., 457 U.S. 596, 605 (1982). Only in rare

circumstances—not present here—can the government carry the heavy burden required to rebut

this presumption of openness. That is why “pseudonyms are the exception and not the rule,”

United States v. Pilcher, 950 F.3d 39, 45 (2d Cir. 2020) (per curiam), and why witnesses have

been “explicitly authorized witnesses to testify anonymously . . . only in a narrow band of cases,”

Wright & Miller § 6408.

       The government cannot carry its heavy burden in this case—as illustrated by the

decisions the government itself cites. The government primarily relies on decisions involving

minors and witnesses who would be in actual danger if publicly identified. The government also

relies on inapposite cases in which the courts allowed witnesses to testify using their first names.

These precedents only underscore the extraordinary nature of the government’s ask: that adult

witnesses who would not be endangered by identification be referred to by fake names at trial.

       Minors. Special solicitude is shown to minors because they are considered more

vulnerable than adults like the witnesses the government seeks to “protect”—as Congress has

recognized. See 18 U.S.C. §3509(d)(3)(A) (“Child Victims’ and Child Witnesses’ Rights”)

(authorizing courts to issue pseudonymity orders for children). Courts in this District routinely

conclude, however, that adults like                                  are less likely to need their

privacy interests protected, and that the rule of open trials must be adhered to. See, e.g., Townes,

2020 WL 2395159, at *5; Skyline Auto. Inc., 375 F. Supp. at 406; Weinstein, 484 F. Supp. 3d at

96.




                                                 8
      Case 1:24-cr-00542-AS          Document 248        Filed 04/17/25     Page 15 of 22




          Among the government’s many inapt precedents involving minors is United States v.

Maxwell, where the court allowed pseudonyms for alleged victims of the “sexual exploitation

and abuse of multiple minor girls by Jeffrey Epstein.” 20-CR-330 (AJN), Dkt. 187, S2

Indictment ¶ 1, Dkt. 465, Hr’g Tr. 5-6 (S.D.N.Y.). The court reached the same conclusion in

United States v. Robert (R.) Kelly, when the alleged victim was a “minor under the age of 18”

who “contracted an incurable sexually transmitted disease at the age of 17.” 19-cr-286 (AMD),

Dkt 121, Memo of Law in Supp. of Gov’t Mot. in Limine at 3-4, Dkt. 255, Order at 19-21

(E.D.N.Y.). The government cites a handful of other distinguishable cases involving minors.

Mot. 8-9 (citing United States v. Daskal, 2023 WL 9424080, at *1-2 (E.D.N.Y. July 12, 2023);

United States v. Kidd, 385 F. Supp. 3d 250, 255 (S.D.N.Y. 2019); United States v. Terranova,

750 F. Supp. 3d 15, 25-26 (E.D.N.Y. 2024); United States v. Corley, 2016 WL 9022508, at *3-4

(S.D.N.Y. Jan. 15, 2016); United States v. Paris, 2007 WL 1484974, at *1-2 (D. Conn. May 18,

2007)).

          Endangered Witnesses. The government also cites cases involving witnesses who might

have been in physical danger, which are equally inapposite. See United States v. Zhong, 2018

WL 6173430, at *1-2 (E.D.N.Y. Nov. 26, 2018) (victims of alleged forced labor conspiracy and

their families potentially faced reprisals); United States v. Urena, 8 F. Supp. 3d 568, 569, 572-73

(S.D.N.Y. 2014) (undercover police officer’s safety and future effectiveness would’ve been

endangered by violent gang); United States v. Schulte, 436 F. Supp. 3d 698, 706-07 (S.D.N.Y.

2020) (need to protect safety and effectiveness of undercover CIA officers); United States v.

Hernandez, 2013 WL 3936185, at *3 (S.D.N.Y. July 29, 2013) (legitimate concerns for safety

and efficacy of undercover DEA special agent).




                                                 9
      Case 1:24-cr-00542-AS           Document 248         Filed 04/17/25      Page 16 of 22




         National security risks and organized crime violence are a far cry from the vague fears of

embarrassment and humiliation that the government attributes to                                         .

See infra Point III.B. Caselaw recognizes the difference and carves out a limited exception to the

presumption of open testimony only for the former type of case. But this is not such a case.

         First Name Only. The government also erroneously relies on decisions permitting

witnesses to testify using their first names—not pseudonyms.

         For example, the court in United States v. Raniere told the jury that it had “instructed the

parties to refer to those individuals by their first names only.” 18-cr-204 (NGG), Dkt. 826, Trial

Tr. 249 (E.D.N.Y.); see also United States v. Marcus, 2007 WL 330388, at *2 (E.D.N.Y. Jan. 31,

2007) (two witnesses permitted to be identified by first names); United States v. Graham, 2015

WL 6161292, at *10 (S.D.N.Y. Oct. 20, 2015) (same for several victims). There is a big

difference between using first names and the government’s proposal here, where witnesses

would testify under fake names and all other witnesses would have to refer to them by those fake

names.

   B. The Government’s Asserted Harms To The Three Witnesses Are Insufficient To
      Justify Pseudonymity

         The government points to a range of amorphous and unsubstantiated harms that it fears

                                  would suffer if identified at trial. Given the “exceptional amount

of media coverage” generated by this case, the government says, identifying these witnesses

would be an “unnecessary public disclosure” that would cause “harassment,” “embarrassment,”

and other unspecified “adverse consequences.” Mot. 1. The government adds that

pseudonymity would “prevent adverse impact” on each witness’s earning potential, and

“minimize the[ir] humiliation.” Id. at 3-6.




                                                  10
      Case 1:24-cr-00542-AS           Document 248            Filed 04/17/25   Page 17 of 22




       1. None of these conclusory and speculative fears—whether considered alone or

together—warrants concealing the identities of the three witnesses. Courts in this District

routinely recognize that litigants in sex-offense cases cannot avoid being identified based on

generalized and uncorroborated fears of stigma, embarrassment, humiliation, harassment, or

negative professional ramifications. “Were it otherwise, virtually all claims of adult sexual

assaults would ipso facto proceed anonymously.” Doe 1 v. Branca USA, Inc., 2022 WL

2713543, at *2 (S.D.N.Y. July 13, 2022); see, e.g., Skyline Auto. Inc., 375 F. Supp. 3d at 405

(“potential for embarrassment or public humiliation” insufficient to justify pseudonymity);

Townes, 2020 WL 2395159, at *4 (same for “[e]vidence of . . . social stigmatization, and

economic harm”).

       The likelihood of mental harm cannot be supported by the government’s own say-so, but

must be backed by medical documentation or other particularized evidence—which the

government doesn’t even attempt to offer. See, e.g., Branca USA, Inc., 2022 WL 2713543, at *2,

5 (no pseudonymity when there was “no evidence of specific and concrete harm, such as in the

form of opinions from mental health professionals”); Gong Xi Fa Cai, Inc., 2019 WL 3034793,

at *2 (“exacerbat[ion] [of] emotional distress” insufficient “absent more direct evidence linking

disclosure of her name to a specific . . . mental injury”).

       2. Pseudonymity is improper even in cases involving sex-offense allegations against

high-profile defendants. See Doe v. Shakur, 164 F.R.D. 359 (1996) (Tupac); Weinstein, 484 F.

Supp. 3d 90 (Harvey Weinstein); Rapp v. Fowler, 537 F. Supp. 3d 521 (S.D.N.Y. 2021) (Kevin

Spacey). While the government emphasizes one case where the court granted pseudonymity in

part because “the case has already received significant national and local press coverage,” United

States v. Martinez, 17-cr-281 (BMC), Dkt. 34, Order at 2 (E.D.N.Y.), “these generalized




                                                  11
      Case 1:24-cr-00542-AS          Document 248         Filed 04/17/25      Page 18 of 22




concerns are present in every high-profile criminal case,” United States v. Maxwell, 2021 WL

5967913, at *2 (S.D.N.Y. Dec. 15, 2021), and cannot justify pseudonymity.

       For these reasons, nearly every court in this District (and most New York State courts)

has rejected pseudonymity or anonymity requests from the many civil plaintiffs alleging similar

claims against Mr. Combs. See, e.g., Doe v. Combs, 2024 WL 863705 (S.D.N.Y. Feb. 29, 2024)

(Combs I); Combs II, 2024 WL 4635309; Combs III, 2025 WL 268515; Doe v. Combs, 2025 WL

722790 (S.D.N.Y. Mar. 6, 2025); Doe v. Combs, 2025 WL 934358 (S.D.N.Y. Mar. 27, 2025);

Combs VI, 2025 WL 934380; Doe v. Combs, 2025 WL 950685 (S.D.N.Y. Mar. 28, 2025); Doe v.

Combs, No. 24-CV-7974 (JMF), Dkt. 59 (S.D.N.Y. Apr. 8, 2025); Doe v. Combs, No. 24-CV-

7776 (NRB), Dkt. 62 (S.D.N.Y. Apr. 9, 2025); see also, e.g., Doe v. Combs, 161671/2024, Dkt.

33 (Sup. Ct. NY Co. 2025); Doe v. Combs, 161674/2024, Dkt. 30 (Sup. Ct. NY Co. 2025); Doe

v. Combs, 161676/2024, Dkt. 31 (Sup. Ct. NY Co. 2025).

       In one illustrative case involving Mr. Combs, the court held that neither the highly

sensitive nature of the allegations nor the fact that the plaintiff had not spoken about them

publicly justified pseudonymity. Although the case “may attract exceptional media attention and

public scrutiny, which understandably might cause the plaintiff embarrassment and distress,” the

plaintiff failed to present “support from a medical professional” or other “particularized evidence

that disclosure will cause injury” and instead offered only a “vague, generic, and speculative

claim” of generalized mental harm that was “applicable to all victims of sexual assault.” Combs

III, 2025 WL 268515, at *2-3. The government’s request fares no better.

       3. The government repeatedly invokes the interest in protecting the identities of alleged

sex-crimes victims so others will not be deterred from coming forward. Mot. 8, 10-11, 16.

According to this logic, pseudonymity would be required for every alleged sex-crimes victim—




                                                 12
         Case 1:24-cr-00542-AS        Document 248       Filed 04/17/25      Page 19 of 22




but that is not the law. “[F]urthering this interest does not require maintaining the anonymity

of every person who alleges sexual assault or other misconduct of a highly personal nature.” Id.

at *4.

         The interest in not deterring the reporting of sex crimes must be balanced against Mr.

Combs’s interest—indeed, constitutional right—to confront his accusers, and both his and the

public’s interest in an open trial. Consequently, this asserted interest “has been repeatedly

rejected by courts in this District as an adequate basis . . . to warrant anonymity.” Combs I, 2024

WL 863705, at *5. Any alleged chilling effect is also belied by both the numerous civil

plaintiffs who were denied pseudonymity in suits against Mr. Combs, see supra Point III.B.2,

and the many other plaintiffs who have sued Mr. Combs under their own names

           in this District, see, e.g., Ventura v. Combs, 23-cv-10098 (DLC); Jones v. Combs, 24-

cv-1457 (JPO); McKinney v. Combs, 24-cv-3931 (NRB); English v. Combs, 24-cv-5090 (AT);

Richard v. Combs, 24-cv-6848 (KPF); Graves v. Combs, 24-cv-7201 (AT).

         4. This parallel civil litigation involving Mr. Combs—and the other civil decisions cited

in this opposition—demonstrate a fortiori that pseudonyms should not be permitted at Mr.

Combs’s criminal trial. The presumption of open trials is even stronger in criminal cases

because, unlike civil defendants, criminal defendants have Sixth Amendment rights to a public

trial and the confrontation of witnesses. And open “criminal trials in particular” are at the heart

of the First Amendment right of access, Globe Newspaper Co., 457 U.S. at 605-06, because

“[p]lainly it would be difficult to single out any aspect of government of higher concern and

importance to the people than the manner in which criminal trials are conducted,” Richmond

Newspapers, Inc., 448 U.S. at 575 (plurality opinion). This stronger rule of openness virtually




                                                 13
Case 1:24-cr-00542-AS   Document 248   Filed 04/17/25   Page 20 of 22
Case 1:24-cr-00542-AS   Document 248   Filed 04/17/25   Page 21 of 22
Case 1:24-cr-00542-AS   Document 248   Filed 04/17/25   Page 22 of 22




                                          Anna Estevao
                                          SHER TREMONTE LLP
                                          90 Broad St., 23rd Fl.
                                          New York, NY 10004
                                          (212) 202-2600
                                          aestevao@shertremonte.com




                                16
